

Matter of Law (2020 NY Slip Op 02230)





Matter of Law


2020 NY Slip Op 02230


Decided on April 9, 2020


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 9, 2020

PM-44-20

[*1]In the Matter of Hugh Roland Law, An Attorney. (Attorney Registration No. 4381950.)

Calendar Date: March 16, 2020

Before: Garry, P.J., Egan Jr., Lynch, Clark and Pritzker, JJ.


Hugh Roland Law, St. Louis, Missouri, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Hugh Roland Law was admitted to practice by this Court in 2006 and lists a business address in St. Louis, Missouri with the Office of Court Administration. Law now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Law's application.
Upon reading Law's affidavit sworn to November 11, 2019 and filed November 18, 2019, and upon reading the March 12, 2020 correspondence in response by the Chief Attorney for AGC, and having determined that Law is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
Garry, P.J., Egan Jr., Lynch, Clark and Pritzker, JJ., concur.
ORDERED that Hugh Roland Law's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that Hugh Roland Law's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Hugh Roland Law is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Law is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Hugh Roland Law shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








